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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


HON. BENNIE G. THOMPSON,
in his personal capacity, Et al.                                 Civil Action No. 1:21-cv-00400-APM


                               Plaintiffs,                                responding to the
           v.                                                          AMENDED COMPLAINT

DONALD J. TRUMP, “solely in his personal capacity”
                                                                  Plaintiffs Requested Trial by Jury
                              Defendants.


               DEFENDANT OATH KEEPER’S SUPLEMENTAL EXHIBIT
             IN SUPPORT OF THE OATH KEEPERS’ MOTION TO DISMISS

       Defendant OATH KEEPERS, Inc. respectfully submits the attached Supplemental

Exhibits and objections in support of its Special Motion to Dismiss the Amended Complaint as it

pertains to the OATH KEEPERS, Inc. and moves the Court to consider these exhibits before

reaching a decision upon the OATH KEEPERS, Inc. Motion to Dismiss.

       The statement claimed by the Honorable Amit Mehta is simply not there.

       There is no statement in former President Donald Trump’s speech on January 6,

2021, as Judge Mehta claimed in the January 10, 2021.

       It’s just not there.

       The statement which is the cornerstone of the fabled (imagined) conspiracy is simply

not found in Donald Trump’s speech, attached as Exhibit A.

       Furthermore, in Paragraphs 63, 128, 129, 130, 131, and 132 – the allegations of which are

central and essential and crucial to the Plaintiffs’ claims and legal theories – the Plaintiffs rely

upon written documents containing statements allegedly made by members of the Oath Keepers,

known and unknown. The Plaintiffs tell us what the Plaintiffs think those statements mean.
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        Defendant moves the Court to allow the Defendant to supplement its Motion to Dismiss

with these additional exhibits and order that the Plaintiffs submit any other documents in their

entirety that

                "In general, our review is limited to the facts as
                asserted within the four corners of the complaint,
                the documents attached to the complaint as
                exhibits, and any documents incorporated in the
                complaint by reference. Taylor v. Vt. Dep't of
                Educ., 313 F.3d 768, 776 (2d Cir.2002)..."

McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184 (2nd Cir. 2007) (emphasis added).

        Although this is not a trial, it is a test of whether a Complaint – in its present form –

states a cause of action. That is, is it capable of being plausibly presented at trial.

        Rule 106 of the Federal Rules of Evidence requires that:

                If a party introduces all or part of a writing or
                recorded statement, an adverse party may
                require the introduction, at that time, of any
                other part — or any other writing or recorded
                statement — that in fairness ought to be
                considered at the same time.

        Defendant disagrees with the Court’s comment in hearing January 10, 2022, that the

burden of producing the full document is upon the objecting party. If that is “how things are

normally done” on Rule 106, those practices are wrong.

        This is especially true if the OATH KEEPERS, Inc. do not know where these Plaintiffs

claim to have found many of the fragmentary quotes alleged in the

        Defendant OATH KEEPERS, Inc., asks the Court to consider the entire document not

just the fragments of quotes included in the allegation during deciding its Motion to Dismiss

under Rule 12(b)(6). The Court should consider the full context of these statements to the extent

that the Defendant can find the referenced document.



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         Again, for context, new counsel for OATH KEEPERS has not argued that no set of

allegations could be brought by these Plaintiffs such as with regard to standing, or that no causes

of action could be considered. But the Plaintiffs simply have not pled a valid cause of action.

         As with many if not most lawsuits, there is value and importance in seeking precision.

Here more than most lawsuits, the actuality or danger of sweeping up people with a drag net

approach due to imprecision is very serious.

         Certainly if the Plaintiffs had credibly alleged personal injury, they would have standing,

for example. That’s different from whether they have as of yet alleged a personal interest within

the context of the causes of actions mentioned. They might. But have they? Precision allows

Defendants and the Court to properly prepare for the progress of a case and for trial.

    I.      STRAINED CONCEPTS OF CONSPIRACY ARE SWEEPING IN
            OATH KEEPERS, Inc.

         Again, it is not the role of the OATH KEEPERS, Inc. or their counsel to carry water for

the former President Donald Trump, including because he is fully capable of fighting for his own

position. And he can and has hired able attorneys to represent him.

         Nevertheless, as illustrated strongly in the January 10, 2022, hearing, the exact meaning

of one or more conspiracies can potentially affect OATH KEEPERS, Inc. and/or individual

members. The deep dive into the precise identification and analysis of what constitutes a

conspiracy, if anything, demonstrated that the organization OATH KEEPERS, Inc. and its

members or those who identify with it are being considered in the light of the claim of a

conspiracy led by Trump.

         The Plaintiffs here argued and the Court considered 1 a conspiracy may have been formed


1        Counsel believes that it is particularly important to reject assumptions about what the
Honorable Judge Amita Mehta may be inclined to decide or implying from the robust, academic, and
legally rigorous legal argument. Counsel views the oral argument as strongly based in the Court


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between and among President Donald Trump and everyone who heard the sound of his voice in

his speech from the Ellipse, including anyone listening around the world or around the nation by

radio, TV, or internet. The Court discussed the idea that people merely listening to Mr. Trump’s

speech are included in the conspiracy merely because they heard the speech, presumably if they

then accepted the invitation by some act of agreement.


   II.      ACTUAL SPEECH OF FORMER PRESIDENT DONALD TRUMP
            JANUARY 6, 2021, DOES NOT FORM A CONSPIRACY

         These cases depends completely upon (among other things, but unavoidably upon) the

speech that former President Donald Trump gave on January 6, 2021:

         The assertions of the Plaintiffs are being argued so as to affect the Defendant OATH

KEEPERS, Inc., based upon a conspiracy initiated (if not earlier) at and around the park section

of the South White House lawn known as the “Ellipse” when Donald Trump perhaps made a

proposal or invitation to engage in a conspiracy during his speech.

         The discussion by the Plaintiffs and others was inaccurate and misguided. The speech –

attached in full as Exhibit A – of Donald Trump actually says:

                 We have come to demand that Congress do the right
                 thing and only count the electors who have been lawfully
                 slated, lawfully slated. I know that everyone here will
                 soon be marching over to the Capitol building to
                 peacefully and patriotically make your voices heard.

         Donald Trump not only stated that the purpose was that “Congress do the right thing”

but also that he wanted Congress to “count [only] the electors who have been lawfully slated.”

         Therefore, Donald Trump was proclaiming that he wanted the Joint Session of Congress

on January 6, 2021, for the purpose of counting (valid) Electoral College votes to be held, to

exploring every question and issue that strikes Judge Mehta as important or even potentially
influential and inviting the attorneys to think through these issues with the Court. Probing
questions do not imply any decision, but they do raise interesting analyses.


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continue, and to proceed to a conclusion, but to do so in a particular way that Trump considered

to be legally and factually correct. That is consistent with the legal memoranda that have been

leaked from his lawyers

       Trump was not suggesting that the Joint Session of Congress be disrupted. Trump’s

speech from the Ellipse – supposedly the cornerstone of the asserted conspiracy – indicated that

       Former President Donald Trump said:

                     “I know that everyone here will soon
                     be marching over to the Capitol
                     building to peacefully and patriotically
                     make your voices heard.”

       Trump did not instruct or direct that anyone march to the Capitol.

       Trump observed that “I know that” people will be marching over to the Capitol, because

the demonstrations at the U.S. Capitol were announced in December, before Trump’s appearance

at the Ellipse rally by Women for America First was even announced. Plans for people to go to

the U.S. Capitol predated plans for Donald Trump to speak at the Ellipse rally.

       Mr. Trump then made clear that the action required was by diligent Members of

Congress, not by violence by any of those among the crowds:

               Today, we see a very important event though,
               because right over there, right there, we see the
               event going to take place. And I’m going to be
               watching, because history is going to be made.
               We’re going to see whether or not we have great
               and courageous leaders or whether or not we
               have leaders that should be ashamed of
               themselves throughout history, throughout
               eternity, they’ll be ashamed. And you know
               what? If they do the wrong thing, we should
               never ever forget that they did. Never forget. We
               should never ever forget. With only three of the
               seven states in question, we win the presidency
               of the United States.


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       Mr. Trump directed the crowd to the question of “We’re going to see whether or not

we have great and courageous leaders or whether or not we have leaders that should

be ashamed of themselves throughout history…”

       This puts the focus on Members of Congress, not upon the individuals in the crowd.

       Trump directed the members of the crowd towards watching to see what the Joint Session

of Congress would do. That would require that it not be disrupted. And then Trump urged the

crowd to remember in the future whether or not Members of Congress had done the right thing.

Again, this could not happen if the Joint Session were disrupted. In no way was any conspiracy

to attack the Capitol suggested, hinted at, within the realm of possibility of what was proposed to

the assembled crowds at the Ellipse on January 6, 2021.

       And again, former President Trump emphasized that Members of Congress were meeting

to vote on disputed Electoral College, the Joint Session of Congress would need to actually be

held and the core action was to be held by Members of Congress:

               I want to thank the more than 140 members of
               the House. Those are warriors. They’re over there
               working like you’ve never seen before, studying,
               talking, actually going all the way back, studying
               the roots of the Constitution, because they know
               we have the right to send a bad vote that was
               illegally got.

       Again, the focus of Trump’s speech was on the Members of Congress acting in their

official capacities, not on any actions by the crowds. He emphasized the good work being done

(expected to be done) by 140 Members of the U.S. House of Representatives.

       This is not calling on, suggesting, hinting at, even conceiving of any action by the crowds

other than to express their encouragement to those 140 Congressmen and others to do the right

thing when they voted.


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       This all would require the Joint Session of Congress to convene, remain in session, and

continue to complete its work.

       As Donald Trump’s advisor Peter Navarro has explained, the violence by a few actually

destroyed the Trump team’s legal plans and strategies to contest disputed Electoral College votes

and undermined Donald Trump’s strategies and position.2

       And Mr. Trump made clear that “fight” meant to fight rhetorical, in political argument:

              But it used to be that they’d argue with me, I’d
              fight. So I’d fight, they’d fight. I’d fight, they’d
              fight. Boop-boop. You’d believe me, you’d believe
              them. Somebody comes out. You know. They had
              their point of view, I had my point of view. But
              you’d have an argument. Now what they do is
              they go silent. It’s called suppression. And that’s
              what happens in a communist country. That’s
              what they do. They suppress. You don’t fight with
              them anymore, unless it’s a bad story. If they
              have a little bad story about me, they’ll make it
              10 times worse and it’s a major headline. But
              Hunter Biden, they don’t talk about him. What
              happened to Hunter? Where’s Hunter? Where is
              Hunter? They don’t talk about him.

       Clearly, Mr. Trump was not actually physically battling with people in the incidents

recounted. There were no actual, physical brawls in what Trump describes as “fight[s].”

       By contrast, Mr. Trump’s opponent threatened on many occasions to physically assault

and batter Mr. Trump.

              [JOE BIDEN THREATENING DONALD TRUMP]
              “The press always asks me: don’t I wish I were
              debating him,” Biden said. “No, I wish we were in



2      Dominick Mastrangelo, "Trump adviser Navarro: Rioters on Jan. 6 hurt plan to
challenge election result," THE HILL, January 5, 2022, accessible at
https://thehill.com/homenews/588312-navarro-rioters-on-jan-6-hurt-plan-to-challenge-
election-result

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                  high school—I could take him behind the gym.
                  That’s what I wish.” 3

           But no one took Biden’s very frequent threats of physical violence against Trump and

other political rivals literally. Finally

                  So we’re going to, we’re going to walk down
                  Pennsylvania Avenue, I love Pennsylvania
                  Avenue, and we’re going to the Capitol and we’re
                  going to try and give -- the Democrats are
                  hopeless. They’re never voting for anything, not
                  even one vote. But we’re going to try and give
                  our Republicans, the weak ones, because the
                  strong ones don’t need any of our help, we’re
                  going to try and give them the kind of pride and
                  boldness that they need to take back our country.
                  So let’s walk down Pennsylvania Avenue. I want
                  to thank you all. God bless you and God bless
                  America. Thank you all for being here. This is
                  incredible. Thank you very much. Thank you.

           At worst, Mr. Trump’s rambling conclusion of his speech is a jumble rather

typical of former President Donald Trump. But in no way is it the imminent call to

storm the U.S. Capitol portrayed by Judge Mehta and Plaintiffs when undersigned

counsel tried to point to the actual words of the speech.

           These words quotes are allegedly the cornerstone of the strained and ill-

defined conspiracy.


    III.      PARAGRAPH 63

           Paragraph 63 of the Amended Complaint vaguely asserts:

                  An Oath Keepers leader has stated that the group
                  coordinated with the Proud Boys about how
                  members of the two organizations would work
                  together during the insurrection on January 6.

3 https://thehill.com/blogs/ballot-box/presidential-races/302257-biden-blasts-trump-i-wish-i-could-take-

him-behind-the-gym


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               The Oath Keepers leader posted a Facebook
               message on December 19, 2020 stating, "[T]hs
               week I organized an alliance between Oath
               Keepers ... and Proud Boys. We have decided to
               work together and shut this shit down."

               ... "This leader then posted a Facebook message
               on December 25, 2020 discussing
               communications with Proud Boys leadership and
               how the Oath Keepers had "orchestrated a plan
               with the Proud Boys" (emphasis added).

       However, the only actual post that this could be referring to was about an event in

Florida, not in D.C., and not on January 6.

       Furthermore, this appears to relate to Kelly Meggs, who was not a leader of the Oath

Keepers on December 19, 2020, and could not speak on behalf of the Oath Keepers.

       Furthermore, note the vague and deficient allegation that the Facebook post was

“discussing communications” – but what did it say? The Court cannot have blinders put upon it

and be led around by the nose. What exactly did the post say? Or do Plaintiffs not know?

       This post cannot be found by a search on Facebook.

       Paragraph 63 further alleges that

               The leader sent another Facebook message on
               Decmeber 22 saying Defendant Trump "wants us
               to make it WILD that's what he's saying. He
               called us all to the Capitol and wants us to make
               it wild!!! ... Gentlemen we are heading to DC pack
               your shit!!"

       Again, if this involves Kelly Meggs, Meggs was not a leader on December 22. He was

appointed to leadership in Florida only just before the January 6 event. And the quote above is

meaningless for the purpose of establishing any conspiracy.

       A search for these phrases on Facebook finds nothing. The conversation alleges is not




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available on Facebook. But for the Plaintiffs to quote it must be easy unless it was invented (by

someone).

         The entire conversations posted by some unidentified “Oath Keepers leader” must be

placed before the Court, and it is the Plaintiffs who must put it before the Court, not the

Defendants. The Defendant cannot be sure that the Plaintiffs are referring to.


   IV.      PARAGRAPH 128

            Paragraph 128 alleges inadequately:

                One member of Defendant Oath Keepers, for
                example, posted a photograph of herself at the
                Capitol on the social media site Parler, along with
                the statement "Me before forcing entry into the
                Capitol building. #stopthesteal #stormthecapitol
                #oathkeepers #ohiomilitia." Another post late in
                the day declared: "Yeah. we stormed the Capitol
                today. Teargassed, the whole, 9. Pushed our
                way into the Rotunda. Made it into the Senate
                even. The news is lying (even Fox) about the
                Historical events today."

         Aside from the obvious defect that the person is unidentified, the Plaintiffs must place

before the Court the entire posts.

         Parler, of course, was shut down by Left-wing fascism. When Parler was restored, it was

only on condition that all content relating to January 6, 2021, be removed (by Parler). Therefore,

the Defendant cannot reconstruct what post the Plaintiffs are referring to.


   V.       PARAGRAPH 129

            Paragraph 129 alleges that:

                A message later posted on Facebook for example
                revealed Defendant Oath Keepers was
                transmitting intelligence about the location of
                members of Congress whom they were hunting.


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                It said "All members are in the tunnels under
                capital seal them in. Turn on gas."

        In addition to the obvious defect that the poster on Facebook is unidentified, the post is

vague and ambiguous.

        It is offered to imply that ‘members’ refers to Members of Congress. This is a term

commonly used within the Congress, but never used by the general public. The public do not

call Senators and Congressmen “members” unless they have been involved with Congress in

some way and are talking to Congressional Members or staff. Among common parlance, if

someone referred to Congressmen or Senators as “members” it might be taken as a derogatory

insult. Only Members of Congress, their staff, and Capitol personnel refer to “members.”

Certainly, if a member of the general public were going to use the inside-baseball short-hand,

they would spell it out in full.

        The allegation is used to imply that the Oath Keepers had gas – which they did not –

especially in quantities needed to fill tunnels.

        The implication that this means that Oath Keepers were “hunting” Members of Congress

is not supported by the quote and the entire conversation must be produced as an exhibit before

the Court.

        A search for this quote on Facebook returns news coverage, but not the actual

conversation asserted in context.

        Indeed, it is not remotely credible that this message was ever posted on Facebook. If

there ever were a communication of this nature, it would be sent by other private means such as

the darkly-mentioned communication channels and text messages.

        It is likely that this Facebook message is a spoof by some other party (or misunderstood

as being on Facebook when actually posted by some other platform). It is not a message that one


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would post generally, rather than being communicated directly and privately.

          During the demonstrations of January 6, 2021, no one would be viewing Facebook,

especially since the cell phone service was jammed or slow by quantity of users and Facebook is

slower than sending and receiving text messages.4 So no one among the demonstrators would

see such a post in real time. It would take the unknown sender more time and effort to post on

Facebook than to send a text message or Telegram or other chat message.

          Therefore, given the improbability of the Facebook post being genuine, the Plaintiffs

must place the full conversation posted before the Court.


    VI.      PARAGRAPH 130

             Paragraph 130 alleges that:

                 Reflecting on their success in interfering with the
                 tally of the Electoral College votes, Defendant
                 Oath Keepers leader Thomas Caldwell posted a
                 message on Facebook at nearly 8:00 PM on the
                 same day with a video of himself inside the
                 Capitol and the message "Us storming the castle.
                 Please share. Sharon was with me. I am such an
                 instigator! She was ready for it man! Didn't even
                 mind the tear gas."

          However, the U.S. Attorney’s Office concedes that Thomas Caldwell was

never a leader of the Oath Keepers and never went inside the Capitol building. The

security camera video recordings show Thomas Caldwell only outside the building.


4      Sascha Segan, "Why Cell Networks Cut Out at the US Capitol Riot: As the mob
descended on the US Capitol complex yesterday, did law enforcement jam cell signals to
thwart communication? No, the networks were probably just overwhelmed. Here's why."
PCMAG, January 7, 2021, accessible at: https://in.pcmag.com/networking/140085/why-
cell-networks-cut-out-at-the-us-capitol-
riot#:~:text=Why%20Cell%20Networks%20Cut%20Out%20at%20the%20US,communica
tion%3F%20No%2C%20the%20networks%20were%20probably%20just%20overwhelm
ed.

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The prosecution claims that being on the terrace outside the building is legally being

in the building.

       There is no post on Facebook that can be found of this message. There are

references to news articles and discussion. But the post is not present on Facebook.

       The Facebook post appears to be a spoof by the very active Left-wing

activists on-line, sometimes called “Twitter Antifa.” It appears that at first the U.S.

Government merely assumed that posts on Facebook were legitimate without

inquiry. For example, it seems improbable that Thomas Caldwell would have said

“Please share” to such a post, which would have been written only to his friends and

known contacts.


   VII.    PARAGRAPH 131

           Paragraph 131 alleges that:

               Gloating over their perceived success, Caldwell
               then sent another message reporting: "Proud
               boys scuffled with cops and drove them inside to
               hide. Breached the doors. One guy made it all
               the way to the house floor, another to Pelosi's
               office. A good time."


       Of course if we are to accept the Plaintiff’s own self-serving opinions about what other

people meant, we would have to see the entire conversation in context.

       Again, we know that when a mother says “I am going to kill that boy” she is not, in fact,

going to kill that boy, but is just expressing frustration. Human language demands context for

accurate interpretation.

       These comments are clearly rumors being passed along.

       The U.S. Attorney’s Office admits that no Proud Boys scuffled with any cops nor drove


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any cops anywhere. The U.S. Attorney’s Office admits that no Proud Boys breached any doors.

We don’t know who “one guy” is. So the Plaintiffs must put before the Court the entire message

posted, which should be easy to do if the message ever actually existed.

   VIII. PARAGRAPH 132

       Paragraph 132 further alleges that Thomas Caldwell sent a message:

               "We need to do this at the local level. Let's storm
               the capitol in Ohio. Tell me when!"


       However, Thomas Caldwell lives in rural Virginia and Ohio was not one of the seven

disputed states in the 2020 presidential election. See: Ivan Pentchoukov, "Electors in 7 States

Cast Dueling Votes for Trump," EPOCH TIMES, December 15, 2020, accessible at:

https://www.theepochtimes.com/electors-in-7-states-cast-dueling-votes-for-trump_3620059.html

       Why would Thomas Caldwell be focused on Ohio? This appears to be another spoof on

social media. The entire conversation needs to be produced before the Court.

Dated: January 11, 2022                      Respectfully submitted, OATH KEEPERS, Inc.
                                                            By Counsel



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                                CERTIFICATE OF SERVICE




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         I hereby certify that on January 11, 2022, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to the following CM/ECF participant(s), and also mailed a copy to the following by first
class U.S. mail, postage prepaid, one single copy to each law firm for distribution internally to all
counsel involved from that law firm, to:

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